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EXHIBIT C
Case 1:22-cv-05134-MLB Document 47-3 Filed 06/24/25 Page2of4

AFFIDAVIT OF NON-SERVICE
Case: Court: Job:
1:22-cv- In the United States District Court for the Northern 12545136
05134-MLB | District of Georgia Atlanta Division
Plaintiff / Petitioner: Defendant / Respondent:
CHARNAE JONES PROVISTA DIAGNOSTICS, INC., And TODOS MEDICAL, LTD
Recelved by: For:
Harris Investigations, LLC Lucas & Leon, LLC
To be served upon:
Provista Diagnostics, Inc., TODOS Medical, LTD., and Gerald Commissiong

|, Jonathon Holcomb, being duly swom, depose and say: | am over the age of 18 years and not a party to thls action, and that within the

boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed sald person of
the contents herein

Recipient Name/Address: Provista Diagnostics, Inc, TODOS Medical, LTD., and Gerald Commisstong, 2264 Ralelgh Road, Hummelstown,

PA 17036
Manner of Service: Bad Address
Documents: DEPOSITION NOTICE PURSUANT TO RULE 69 AND THE COURT'S ORDER (Recelved Jan 20, 2025 at 4:03pm EST),

INTERROGATORIES FROM JUDGMENT CREDITOR TO JUDGMENT DEBTOR (Received Jan 20, 2025 at 4:03pm EST)

Additional Comments:
1) Unsuccessful Attempt: Jan 28, 2025, 10:40 am EST at 2264 Ralelgh Road, Hummelstown, PA 17036
The house js empty, realtors lock box is on the front door. Only 1 set of footprints in snow and It's leading directly to the front door/lock box,

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‘Jonathon Holcomb-—— Date
ID# 1079

Harris Investigations, LLC
PO Box 304

Lansdale, Pa 19446
717-368-6533

Case 1:22-cv-05134-MLB

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